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                        Exhibit 1


            Billing Detail for January 11, 2021
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                             Case 21-10023-JTD                    Doc 401-2   Filed 12/27/21     Page 4 of 4

                                                                                                  Pryor Cashman LLP                    •

             PRYOR CASHMAN                                                                        7 Times Square
                                                                                                  New York, NY 10036               •   r   •




                                                                                                                       January 11, 2021
                                                                                                             Invoice Number: 480034
   James Decker
   c/o JDecker & Company
   5035 Riverview Road, NW
   Atlanta, GA 30327
   jim@jdeckerco.com




   RE: 29441.00001                 Marriott Wardman Park Dispute



   For services rendered on January 11, 2021:


             Total Fees



                                  TOTAL THIS INVOICE                                N14,,f   5,934.50

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   For billing inquiries please email: billing@piyorcashman.com                                    Federal Tax Identification Number
                                    r
   All amounts are expressed in United States Dollars. To ensure proper credit to the above account, please indicate invoice no.
   480034. Details of invoices being paid can be emailed to: receipts@pryorcashman.com.

   Wire and ACH funds accepted:                                                  Remittance Address (If paid by check)
                                                                                 Pryor Cashman LLP
                                                                                 7 Times Square
                                                                                 New York, NY 10036
                                                                                 Attention: Accounting Department

                                                                                 (Please return remittance page with check)



Tel: 212-421-4100 I Fax: 212-326-0806 I New York I Los Angeles I Miami                                                   pryortashman.con
